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               IN THE UNITED STATES DISTRICT COURT
          NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON, VIKKI TOWNSEND
CONSIGLIO, GLORIA KAY GODWIN, JAMES
KENNETH CARROLL, CAROLYN HALL FISHER,                         CASE NO.
CATHLEEN ALSTON LATHAM and BRIAN JAY                          1:20-cv-4809-TCB
VAN GUNDY,


Plaintiffs,

v.

BRIAN KEMP, in his official capacity as Governor of
Georgia, BRAD RAFFENSPERGER, in his official
capacity as Secretary of State and Chair of the Georgia
State Election Board, DAVID J. WORLEY, in his
official capacity as a member of the Georgia State
Election Board, REBECCA N. SULLIVAN, in her
official capacity as a member of the Georgia State
Election Board, MATTHEW MASHBURN, in his
official capacity as a member of the Georgia State
Election Board, and ANH LE, in her official capacity as
a member of the Georgia State Election Board,

Defendants.


     PLAINTIFFS’ EMERGENCY MOTION FOR DECLARATORY,
     EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF AND
            MEMORANDUM IN SUPPORT THEREOF
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 PLAINTIFFS’ EMERGENCY MOTION FOR DECLARATORY,
 EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF AND
        MEMORANDUM IN SUPPORT THEREOF

      COMES NOW Plaintiffs, by and through their undersigned counsel, and file

this Emergency Motion for Declaratory, Emergency, And Permanent Injunctive

Relief and Memorandum of Law in Support Thereof, respectfully requesting relief

for the following reasons:

STATEMENT OF FACTS

      The facts establishing the Plaintiffs’ right to the relief sought herein are set

forth in detail in the Complaint and its accompanying exhibits, all of which are

incorporated herein by reference. We present only a summary of certain

highlighted facts for the convenience of the court, and because the Complaint is in

excess of 100 pages with 29 exhibits.

      After a general election and hand recount audit, Vice President Biden was

declared the winner of Georgia’s General Election for President by a margin of

12,670 votes on November 20, 2020. But the vote count certified by the

Defendants on November 20 is wrong. Tens of thousands of votes counted toward

Vice President Biden’s final tally were the product of illegality, and physical and

computer-based fraud leading to “outright ballot stuffing.”

       On November 27, 2020, Union County officials advised that they are going

to wipe the voting machines of all data and bring the count back to zero on
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Monday, November 30, 2020. Resetting the machines would destroy relevant

evidence now existing on each voting machine. This cannot be allowed.

      I.       M A I L -I N B A L L O T S   AND A   PATTERN   OF   FRAUD

      Sworn affidavit testimony and detailed analyses of reported election results

demonstrate that 96,600 mail-in votes were illegally cast. (See Compl. Exh. 9,

Ramsland Aff., par. 11). As Plaintiffs’ expert, Russel Ramsland, explains:

      The first red flag comes from mail-in ballots dates. The voter records of
      the counties show that 96,600 mail-in ballots were voted, yet the county
      records show they were never received back. Further, 42 mail-in ballots
      were received back completed before they were mailed out to the voter
      by the county, 1,887 mail-in ballots were received back completed the
      same day they were mailed out to the voter by the county, 1,786 mail-in
      ballots were received back completed one day after they were mailed out
      to the voter by the county and 2,275 mail-in ballots were received back
      completed only two days after they were mailed out to the voter by the
      county. This impossible phenomenon occurred throughout the counties
      of Georgia and were not an isolated event. Following is a summary:

GEORGIA MAIL-IN BALLOT ISSUES

 Ballots received back completed BEFORE they were mailed
 out                                                                         42
 Ballots received back completed THE SAME DAY they were
 mailed out                                                                1,887
 Ballots received back completed ONE day after they were
 mailed out                                                                1,786
 Ballots received back completed TWO days after they were
 mailed out                                                                2,275
 Total Ballots with impossible mail out and received back
 completed dates                                                           5,990


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 Ballots with NO RETURN RECORD AT ALL                                 231,188
 Ballots with NO RETURN RECORD & Cancelled                           -134,588
 Ballots with NO RETURN RECORD & Voted                                 96,600

(See Ex. 9 at pars. 15 – 19.)

      Separately, evidence gathered by Matt Braynard in the form of recorded

calls and declarations of voters, and analyzed by Plaintiffs’ expert, William M.

Briggs, Ph.D., shows that, based on a statistically significant sample, the total

number of mail ballots that voters mailed in, but were never counted, have a

95% likelihood of falling between 31,559 and 38,886 total lost votes. This range

exceeds the margin of loss of President Trump of 12,670 votes by at least 18,889

lost votes and by as many as 26,196 lost votes. (See Ex. 1, Dr. Briggs’ Report).

      Further, as calculated by Matt Braynard, there exists clear evidence of

20,311 absentee or early voters in Georgia that voted while registered as having

moved out of state. Specifically, these persons were shown on the National Change

of Address Database (NCOA) as having moved, or as having filed subsequent

voter registration in another state. The 20,311 votes by persons documented as

having moved exceeds the margin by which Donald Trump lost the election by

7,641 votes. (See Compl. at par. 120).

      Additionally, Plaintiffs have presented evidence of a wide-spread fraud in a

pattern of incidents that shows an absence of mistake – and always in the favor of

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Vice President Biden. Rules of Evidence, 404(b), applicable to civil matters makes

clear that, “(b) Evidence of other crimes, wrongs, or acts shall not be admissible to

prove the character of a person in order to show action in conformity therewith. It

may, however, be admissible for other purposes, including, but not limited to, proof

of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

mistake or accident.” O.C.G.A. § 24-4-404; Fed. Rules of Evidence 404(b).

      Specifically, an Affiant testified about the lack of process and the hostility

only towards the Republican party, which is a violation of the Equal Protection

Clause:

      I also observed throughout my three days in Atlanta, not once did anyone
      verify these ballots. In fact, there was no authentication process in place
      and no envelopes were observed or allowed to be observed. I saw
      hostility towards Republican observers but never towards Democrat
      observers. Both were identified by badges.

(See Compl. at par. 86; Exh. 18 at par. 12, Aff. of Carlos Silva).

      Another Affiant explained that his ballot was not only not processed in

accordance with election law, he witnessed people reviewing his ballot to decide

where to place it, which violated the privacy of his ballot, and when he tried to

report it to a voter fraud line, he never received any contact or cooperation:

      I voted early on October 12 at the precinct at Lynwood Park … Because
      of irregularities at the polling location, I called the voter fraud line to ask
      why persons were discussing my ballot and reviewing it to decide where
      to place it. When I called the state fraud line, I was directed to a worker
      in the office of the Secretary of State…
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(Exh. 19, Andrea ONeal Aff, at par. 3). This Affiant further testified that when they

were an Observer at the Lithonia location, they saw many irregularities, and

specifically “saw an auditor sort Biden votes that he collected and sorted into

ten ballot stacks, which [the auditor] did not show anyone.” (Id. at par. 8).

      Another Affiant testified about the use of different paper for ballots, that

would constitute fraud, stating:

      I noticed that almost all of the ballots I reviewed were for Biden. Many
      batches went 100% for Biden. I also observed that the watermark on at
      least 3 ballots were solid gray instead of transparent, leading me to
      believe the ballot was counterfeit. I challenged this and the Elections
      Director said it was a legitimate ballot and was due to the use of different
      printers. Many ballots had markings for Biden only, and no markings on
      the rest of the ballot.

      (See Compl. at par. 85).

      An Affiant, who attended the Audit testified: “While in Henry County, I

personally witnessed ballots cast for Donald Trump being placed in the pile for

Joseph Biden. I witnessed this happen at table ‘A’”. (See Exh. 13, at par. 29).

       Another Affiant testified that

      I witnessed two poll workers placing already separated paper machine
      receipt ballots with barcodes in the Trump tray, placing them in to the
      Biden tray. I also witnessed the same two poll workers putting the
      already separated paper receipt ballots in the “No Vote” and “Jorgensen”
      tray, and removing them and putting them inside the Biden tray. They
      then took out all of the ballots out of the Biden tray and stacked them on
      the table, writing on the count ballot sheet.

(See Exh. 17, Johnson Aff., pars. 4-5).

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      Another Affiant, a Democrat, testified in his sworn affidavit, before he was

forced to move back to where he could not see, that he had in fact seen “absentee

ballots for Trump inserted into Biden’s stack, and counted as Biden votes. This

occurred a few times.” (See Compl. at par. 132).

      “A Republican National Committee monitor in Georgia’s election recount,

Hale Soucie, told an undercover journalist there are individuals counting ballots

who have made continuous errors,” writes O’Keefe. Project Veritas, Watch: Latest

Project Veritas Video reveals “Multiple Ballots Meant for Trump Went to Biden in

Georgia.1 (See Compl. at par. 88). An Affiant in his sworn affidavit testified, that

while at the Audit in Henry County, “I personally witnessed ballots cast for

Donald Trump being placed in the pile for Joseph Biden. I witnessed this

happen at table “A”’. (See Compl. at par. 76).

      The expert analysis of Dr. Shiva Ayyadurai explains that the electronic data

files must be analyzed before any wiping of data occurs.

      This Declaration has presented, in multiple counties in Georgia, a
      consistent pattern of “High Republican, Low Trump” vote pattern
      anomalies that are improbable. In addition, it was discovered that when
      ethnic distributions were applied to three (3) counties, the only plausible


1
 https://hannity.com/media-room/watch-latest-project-veritas-video-reveals-
multiple-ballots-meant-for-trump-went-to-biden-in-georgia/


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      explanation for the vote distribution was that President Trump received
      near zero Black votes, which is also highly improbable.

      Analysis of DeKalb County enabled the discovery of a “weighted race”
      algorithm that transferred, using a “weight” of 1.22, approximately
      48,000 votes from President Trump to Mr. Biden. In DeKalb County,
      373,000 votes were cast. The approximate 48,000 votes transferred to
      Mr. Biden represents approximately 13% of the total votes cast in
      DeKalb County.

      When one considers the entire State of Georgia, the number of votes cast
      in DeKalb county represents a mere 7.5% of the total number of votes
      cast in the entire State of Georgia, which was reported by the Secretary
      of State of Georgia to be 4,998,482 votes. The analysis herein reveals the
      number of voters may likely not equal of the number of votes given
      algorithms were in place to manipulate the tabulation of votes. This
      result demands that ballot images, log files, CVR, and electronic data
      files from each precinct be reviewed to validate the integrity of the
      election in Georgia. Until that time, the election results are unverifiable.

(See Ex. A to this Motion, at par. 121).

      The expert analyses of proven illegal ballots counted from mail-in votes

together with first-hand testimonials of fraudulent activity by election officials

compels the conclusion that the Defendants’ certification of the election in Vice

President Biden’s favor must be reversed.

      II.    BALLOT STUFFING

      Georgia’s election process depends entirely on voting machines, tabulators

and software purchased from Dominion Voting Systems Corporation (“Dominion”)

that was compromised. Computerized vote recording and tabulations are controlled

by software programs that were designed to cheat, and which were open to human

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manipulation. In 2020, ballot stuffing is not simply counting votes of dead people,

illegal aliens or out of state residents -- all of which clearly occurred here. See Exh.

1, Briggs Report; Exh. 9, Ramsland Affid. Instead, sworn affidavit testimony and

detailed analyses of reported election results demonstrate that over 135,000 votes

were illegally transferred from President Trump to Vice President Biden through an

algorithm embedded in Dominion’s software. (See Exh. 9, Ramsland Aff., para.11).

      Manipulation of votes was apparent shortly after the polls closed on

November 3, 2020. At approximately 10:00 pm, election officials evacuated State

Farm arena where votes were being counted. Fulton County election officials

claimed that a plumbing leak represented a threat. This was a lie. Video of the

location at the time shows that there was no flood and no emergency. Instead, after

all challengers and other personnel left, several election workers stayed behind and

continued to feed votes into Dominion tabulators for over three hours, until 1:00

a.m. on November 4. (Compl. at par. 117).

      Without supervision or challengers, election officials could have processed

tens of thousands of votes from phony vote machine memory cards and thumb

drives. They could also have processed thousands of illegal mail-in ballots that

were cast by third-parties or even blank ballots that were counted over and over.

This kind of voter manipulation would not be uncovered during a recount because


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the voting ballots and memory cards with the phony information would just be

counted again and run through the same tainted tabulation machines.

         The election software and hardware from Dominion, only recently

purchased and rushed into use by Defendants Governor Brian Kemp, Secretary of

State Brad Raffensperger, and the Georgia Board of Elections, was unsecure, and

capable of being manipulated. (See Compl. at par. 4). This is shown by compelling

evidence presented in Curling, et al. v. Kemp, et. al, Case No. 1:17-cv-02989 and

reviewed in a lengthy order by Judge Totenberg at Doc. No. 964. It is also shown

by the expert testimony presented with the Complaint, particularly Exhibits 82

(“Spider Declaration”) and 9 (Ramsland Affidavit).

         Sworn testimony by a former military intelligence expert is consistent with

the above Federal Government advisory, and confirms foreign interference through

the electronic Voting Systems:

         I was an electronic intelligence analyst under 305th Military Intelligence
         with experience gathering SAM missile system electronic intelligence. I
         have extensive experience as a white hat hacker used by some of the top
         election specialists in the world. The methodologies I have employed
         represent industry standard cyber operation toolkits for digital forensics
         and OSINT, which are commonly used to certify connections between
         servers, network nodes and other digital properties and probe to network
         system vulnerabilities.



2
    Exhibit 8 to the Complaint had a slip sheet that erroneously labeled it Exh. 7.

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      In my professional opinion, this affidavit presents unambiguous
      evidence that Dominion Voter Systems and Edison Research have been
      accessible and were certainly compromised by rogue actors, such as Iran
      and China. By using servers and employees connected with rogue actors
      and hostile foreign influences combined with numerous easily
      discoverable leaked credentials, these organizations neglectfully allowed
      foreign adversaries to access data and intentionally provided access to
      their infrastructure in order to monitor and manipulate elections,
      including the most recent one in 2020. This represents a complete failure
      of their duty to provide basic cyber security. This is not a technological
      issue, but rather a governance and basic security issue: if it is not
      corrected, future elections in the United States and beyond will not be
      secure and citizens will not have confidence in the results.

(See Compl. Exh. 8, Aff. at pars. 1 and 21).

      The Federal government issued the following Advisory on October 20, 2020:

      This joint cybersecurity advisory was coauthored by the Cybersecurity
      and Infrastructure Security Agency (CISA) and the Federal Bureau of
      Investigation (FBI). CISA and the FBI are aware of an Iranian advanced
      persistent threat (APT) actor targeting U.S. state websites to include
      election websites. CISA and the FBI assess this actor is responsible for
      the mass dissemination of voter intimidation emails to U.S. citizens and
      the dissemination of U.S. election-related disinformation in mid-October
      2020.1 (Reference FBI FLASH message ME-000138-TT, disseminated
      October 29, 2020). Further evaluation by CISA and the FBI has
      identified the targeting of U.S. state election websites was an intentional
      effort to influence and interfere with the 2020 U.S. presidential election.

(Joint Cybersecurity Advisory Iranian Advanced Persistent Threat Actor Identified

Obtaining Voter Registration Data, Attached as Exhibit B).

      The Advisory further states,

      Following the review of web server access logs, CISA analysts, in
      coordination with the FBI, found instances of the cURL and FDM User
      Agents sending GET requests to a web resource associated with voter
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       registration data. The activity occurred between September 29 and
       October 17, 2020. Suspected scripted activity submitted several hundred
       thousand queries iterating through voter identification values and
       retrieving results with varying levels of success [Gather Victim Identity
       Information (T1589)]. A sample of the records identified by the FBI
       reveals they match information in the aforementioned propaganda video.

(Id. at pp. 4-5).

       Defendants Kemp and Raffensperger rushed through the purchase of

Dominion voting machines and software in 2019 for the 2020 Presidential

Election3. The certificate was awarded to Dominion but is undated. (See Compl. at

par. 12). Similarly, a test report is signed by Michael Walker as Project Manager

but it too is undated. (See Id.). They disregarded all the concerns that caused

Dominion software to be rejected by the Texas Board of elections in 2018 because

it was deemed vulnerable to undetected and non-auditable manipulation. They also

ignored House Bill, HR 2722, that passed the House in 2019 mandating certain

security precautions for voting machines, including that they not be connected to

the internet and have security controls such as paper ballots, unlike those in the

Dominion Voting Systems Democracy Suite package: “This bill addresses election




3
  Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-
Constitution, AJC News Now, Credit: Copyright 2019 The Associated Press, June
2019. https://www.ajc.com/blog/politics/georgia-governor-inks-law-replace-
voting-machines/xNXs0ByQAOvtXhd27kJdqO/

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security through grant programs and requirements for voting systems and paper

ballots” (See Compl. at par. 112).

      An industry expert, Dr. Andrew Appel, Princeton Professor of Computer

Science and Election Security Expert recently observed with reference to

Dominion voting machines: “I figured out how to make a slightly different

computer program that just before the polls were closed, it switches some

votes around from one candidate to another. I wrote that computer program

into a memory chip and now to hack a voting machine you just need 7 minutes

alone with it and a screwdriver.” (See Compl. at par. 13).

      Evidence of a pattern of voter manipulation from the lack of physical

security and compliance with professional standards, “the breaches” and the

“glitches” recently seen in a Dominion system used in one Georgia County, where

it is reported that 3,300 votes were found on memory sticks not loaded plus in

Floyd county, another 2,600 were unscanned, and the “found votes” reduced Vice

President Biden’s lead over President Trump4. (See Compl. at par. 112).

      The opportunity to perform the unauthorized manipulation of votes



4
  Recount find thousands of Georgia votes, Atlanta Journal-Constitution by Mark
Niesse and David Wickert,11/19/20. https://www.ajc.com/politics/recount-finds-
thousands-of-georgia-votes-missing-from-initial-
counts/ERDRNXPH3REQTM4SOINPSEP72M/

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presented on multiple occasions, including when it was widely reported that as of 7

p.m. on Wednesday Fulton County Elections officials said 30,000 absentee ballots

were not processed due to a pipe burst. Officials reassured voters that none of the

ballots were damaged and the water was quickly cleaned up. (See Compl. at par.

81). But the emergency delayed officials from processing ballots between 5:30

a.m. and 9:30 a.m. Officials say they continued to count beginning at 8:30 a.m.

Wednesday. The statement from Fulton County continued:

      Tonight, Fulton County will report results for approximately 86,000
      absentee ballots, as well as Election Day and Early Voting results. These
      represent the vast majority of ballots cast within Fulton County.

      As planned, Fulton County will continue to tabulate the remainder of
      absentee ballots over the next two days. Absentee ballot processing
      requires that each ballot is opened, signatures verified, and ballots
      scanned. This is a labor-intensive process that takes longer to tabulate
      than other forms of voting. Fulton County did not anticipate having all
      absentee ballots processed on Election Day. Officials said they will work
      to ensure every vote is counted and all laws and regulations are
      followed.5

(See Compl. at par. 114.)

      Plaintiffs have learned that the representation that “a water leak affecting the

room where absentee ballots were counted” was false. The only water leak that




5
  4,000 remaining absentee ballots being counted in Fulton County, Fox 5
Atlanta, November 3, 2020, https://www.fox5atlanta.com/news/pipe-burst-at-
state-farm-arena-delays-absentee-ballot-processing

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needed repairs at State Farm Arena from November 3 to November 5 was a toilet

overflow that occurred on November 3. It did not affect the room with ballot

counting, but the water break representation led to “everyone being sent home.”

Nonetheless, first six (6) people, then three (3) people stayed until 1:05 a.m.

working on the computers. (See Compl. at par. 115)

       In sum, there are multiple independent bases for concluding that the

Defendants’ certification of the election in Vice President Biden’s favor was

incorrect. With only12,670 votes separating the candidates out of a total of

4,998,482 cast, the evidence shows far more illegal or fraudulent ballots than

necessary to change the results. Defendant’s certification of the election must be

set aside.

ARGUMENT AND CITATION OF AUTHORITY

       I.    PLAINTIFFS HAVE STANDING

       Plaintiffs Pearson, Consiglio, Godwin, Carroll, Fisher and Latham are

registered Georgia voters and are nominees of the Republican Party to be

Presidential Electors on behalf of the State of Georgia. (Complaint, pars. 23-28).

They each have standing to bring this action as voters and as candidates for the

office of Elector under O.C.G.A. § 21-2-520, et seq. (election procedures for

Georgia election contests). Presidential Electors “have a cognizable interest in

ensuring that the final vote tally reflects the legally valid votes cast,” as “[a]n
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inaccurate vote tally is a concrete and particularized injury to candidates such as

the Electors.” Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020) (affirming that

Presidential Electors have Article III and prudential standing to challenge actions

of secretaries of state in implementing or modifying state election laws); see also

McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing

Bd., 531 U.S. 70, 76 (2000) (per curiam).

      II.    PLAINTIFFS     ARE   ENTITLED     TO   INJUNCTIVE RELIEF.

      Under Georgia state law, the Georgia Supreme Court has made clear that,

“[Plaintiffs] need not show how the [] voters would have voted if their [absentee]

ballots had been regular. [they] only had to show that there were enough irregular

ballots to place in doubt the result.” Mead v. Sheffield, 278 Ga. 268, 272 (1994)

(citing O.C.G.A. § 21-2-520, et seq.) (emphasis added).

      The Eleventh Circuit recently held that, “To support a preliminary

injunction, a district court need not find that the evidence positively guarantees a

final verdict in plaintiff's favor.” Common Cause Georgia v. Kemp, 347 F. Supp. 3d

1270, 1288 (11th Cir. 2018) (citing Levi Strauss & Co. v. Sunrise Int'l Trading Inc.,

51 F.3d 982, 985 (11th Cir. 1995)). To obtain a preliminary injunction the movant

must satisfy four elements: 1) the likelihood of success on the merits; 2) irreparable

harm; 3) the balance of equities favors the movant; and 4) whether the relief sought

is in the public interest. Cunningham v. Adams, 808 F.2d 815, 818-19 (11th Cir.
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1987); see also United States v. Lambert, 695 F.2d 536, 539 (11th Cir. 1983). All

elements are met here.

      “When the state legislature vests the right to vote for President in its people,

the right to vote as the legislature has prescribed is fundamental; and one source of

its fundamental nature lies in the equal weight accorded to each vote and the equal

dignity owed to each voter.” Bush v. Gore, 531 U.S. 98, 104 (2000). The evidence

shows not only that the Defendants failed to administer the November 3, 2020

election in compliance with the Georgia Election Code, but also that illegal or

fraudulent votes were counted to make certain the election of Vice President Biden

as President of the United States. This conduct violated Plaintiffs’ equal protection

and due process rights as well their rights under Georgia law.

             1.    P LAINTIFFS H AVE A S UBSTANTIAL L IKELIHOOD             OF
                   S UCCESS ON THE M ERITS .

      Through detailed fact and expert testimony, including documentary evidence

contained in the Complaint and its exhibits, Plaintiffs have made a compelling

showing the rights of Georgia citizens to select their leaders under the process

established by the Georgia Legislature were violated. Indeed, they have committed

election frauds and illegalities that violated Georgia laws intended to establish and

maintain “the legality and purity of elections,” including O.C.G.A. §§ 21-2-31, 21-

2-33.1, Article 10 of Chapter 2 of Title 21 of the Georgia Code pertaining to

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absentee voting, including particularly the absentee ballot processing and signature

match requirements of O.C.G.A. § 21-2-386, and Part 5 of Article 11 of Chapter 5

of Title 21 of the Georgia Code pertaining to voting by Optical Scanning Voting

Equipment. These acts also violated the Equal Protection Clause of the United

States Constitution.

      The tally of ballots certified by Defendants giving Vice President Biden a

12,670 vote margin cannot possibly stand in light of the thousands of illegal mail-

in ballots that were improperly counted and the vote manipulation caused by the

Dominion software and the lack of election law procedure.

      Plaintiffs’ equal protection claim is straightforward. The right of qualified

citizens to vote in a state election involving federal candidates is recognized as a

fundamental right under the Fourteenth Amendment of the United States

Constitution. See Reynolds v. Sims, 377 U.S. 533, 554 (1964) (The Fourteenth

Amendment protects “the right of all qualified citizens to vote, in state as well as in

federal elections.”). Indeed, ever since the Slaughter-House Cases, 83 U.S. 36

(1873), the United States Supreme Court has held that the Privileges or Immunities

Clause of the Fourteenth Amendment protects certain rights of federal citizenship

from state interference, including the right of citizens to directly elect members of

Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex parte


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Yarbrough, 110 U.S. 651, 663-64 (1884)); see also Oregon v. Mitchell, 400 U.S.

112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

      The fundamental right of citizens to vote protected by the Fourteenth

Amendment is cherished in our nation because it “is preservative of other basic

civil and political rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a

ballot in an election free from the taint of intimidation and fraud,” Burson v.

Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our

electoral processes is essential to the functioning of our participatory democracy.”

Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

      “Obviously included within the right to [vote], secured by the Constitution,

is the right of qualified voters within a state to cast their ballots and have them

counted” if they are validly cast. United States v. Classic, 313 U.S. 299, 315

(1941). “[T]he right to have the vote counted” means counted “at full value

without dilution or discount.” Reynolds, 377 U.S. at 555, n. 29, quoting South v.

Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting).

      “Every voter in a federal … election, whether he votes for a candidate with

little chance of winning or for one with little chance of losing, has a right under the

Constitution to have his vote fairly counted, without its being distorted by

fraudulently cast votes.” Anderson v. United States, 417 U.S. 211, 227 (1974); see


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also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or fraudulent votes

“debase[]” and “dilute” the weight of each validly cast vote. Id. at 227.

      “The right to an honest [count] is a right possessed by each voting elector,

and to the extent that the importance of his vote is nullified, wholly or in part, he

has been injured in the free exercise of a right or privilege secured to him by the

laws and Constitution of the United States.” Id. at 226 (quoting Prichard v. United

States, 181 F.2d 326, 331 (6th Cir. 1950), aff'd due to absence of quorum, 339 U.S.

974 (1950)).

      Practices that promote the casting of illegal or fraudulent ballots, or that fail

to contain basic minimum guarantees against such, can violate the Fourteenth

Amendment by leading to the dilution of validly cast ballots. Reynolds, 377 U.S. at

555 (“[T]he right of suffrage can be denied by a debasement or dilution of the

weight of a citizen’s vote just as effectively as by wholly prohibiting the free

exercise of the franchise.”).

      States may not, by arbitrary action or other unreasonable impairment, burden

a citizen’s right to vote. See Baker v. Carr, 369 U.S. 186, 208 (1962) (“A citizen’s

right to a vote free of arbitrary impairment by state action has been judicially

recognized as a right secured by the Constitution”). “Having once granted the right

to vote on equal terms, the state may not, by later arbitrary and disparate treatment,


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value one person’s vote over that of another.” Bush v. Gore, 531 U.S. 98, 104-05

(2000). Among other things, “specific rules designed to ensure uniform treatment”

in order to prevent “arbitrary and disparate treatment of voters” are required. Id. at

106-07; see also Dunn v. Bloomstein, 405 U.S. 330, 336 (1972) (providing that

each citizen “has a constitutionally protected right to participate in elections on an

equal basis with other citizens in the jurisdiction”).

      Additionally, as candidates for election, Plaintiffs seek redress under

Georgia law, O.C.G.A. § 21-2-522, which provides:

      A result of a primary or election may be contested on one or more of the
      following grounds:

      (1) Misconduct, fraud, or irregularity by any primary or election official
      or officials sufficient to change or place in doubt the result;

      (2) When the defendant is ineligible for the nomination or office in
      dispute;

      (3) When illegal votes have been received or legal votes rejected at the
      polls sufficient to change or place in doubt the result;

      (4) For any error in counting the votes or declaring the result of the
      primary or election, if such error would change the result; or

      (5) For any other cause which shows that another was the person legally
      nominated, elected, or eligible to compete in a run-off primary or
      election.

      As set forth above, all of the conditions in these subsections, except for

subsection (2) which is not applicable, support the relief Plaintiffs seek.

      Accordingly, Plaintiffs have established a likelihood of success on the
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merits.

               2.     T HE P LAINTIFFS W ILL S UFFER I RREPARABLE H ARM .

          “It is well-settled that an infringement on the fundamental right to vote

amounts to an irreparable injury.” New Ga. Project v. Raffensperger, 2020 U.S.

Dist. LEXIS 155901, at 86, (N.D. Ga. Aug. 31, 2020). The irreparable nature of the

harm to Plaintiffs is apparent. If the Georgia count was defective, including

defective absentee ballots and illegal out of state voters in an amount sufficient to

place the outcome in doubt, then Georgia’s election results are improper and

suspect, resulting in Georgia’s electoral college votes going to Democrats,

including Vice President Biden, contrary to the votes of the majority of Georgia’s

qualified electors. Consequently, Plaintiffs will be directly and irreparably harmed

by the wrongful denial of their right to cast their votes in the Electoral College for

President Trump.

               3.     W EIGHING H ARM TO         THE   O PPOSING P ARTY   AND THE
                      P UBLIC I NTEREST .

      The remaining two factors for the preliminary injunction test, “harm to the

opposing party and weighing the public interest, merge when the Government is

the opposing party.” Nken v. Holder, 556 U.S. 418, 129 S. Ct. 1749, 1753 (2009).

      The Eleventh Circuit recently addressed a claim related to Georgia’s voting

system in Common Cause Georgia v. Kemp, 347 F. Supp. 3d 1270 (11th Cir. 2018).

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The Court found,

         In summary, while further evidence will be necessary in the future, the
         Court finds that the combination of the statistical evidence and witness
         declarations in the record here (and the expert witness evidence in the
         related Curling case which the Court takes notice of) persuasively
         demonstrates the likelihood of Plaintiff succeeding on its claims.
         Plaintiff has shown a substantial likelihood of proving that the
         Secretary's failure to properly maintain a reliable and secure voter
         registration system has and will continue to result in the infringement of
         the rights of the voters to cast their vote and have their votes counted.

Id.at 1294-1295.

         First, an immediate temporary restraining order is necessary to preserve the

forensic data on the voting machines, which may get “wiped” as this motion is

filed.

         Second, while it is true that invalidating the results of an election in which

millions of people have cast valid votes is a momentous decision, it must be

recognized that there is no legitimate harm to the opposing party or any legitimate

public interest in enforcing the results of an election decided by illegally cast

ballots – a point made indisputably clear by the availability of election invalidation

as a remedy in Georgia’s election contest statutes.

         Plaintiffs are entitled to an order de-certifying Georgia’s election results or a

stay in the delivery of the certified results to the Electoral College to preserve the

status quo while this case proceeds. The Plaintiffs are further entitled to an order

making the voting machines available for forensic analysis before they are reset for
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the machine recount, and other equitable relief, on an emergency basis, due to the

irreparable harm and impending Electors’ vote.

      The low costs to Defendants and high potential harm to Plaintiffs make this

a case with a substantial net harm that an immediate and emergent injunctive relief

can prevent. Therefore, it is respectfully requested that the Court grant Plaintiffs’

Motion. A proposed form of Order is attached.

      Respectfully submitted, this 27th day of November 2020.

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FONT CERTIFICATE

      The undersigned certifies that the foregoing document was prepared in 14-

point Times New Roman font and in accordance with the margin and other

requirements of Local Rule 5.1.

                                     s/ Harry W. MacDougald
                                     Harry W. MacDougald
                                     Georgia Bar No. 463076

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CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing document with

the Clerk of Court using the CM/ECF system, and that I have delivered the filing

to the Defendants by email and FedEx at the following addresses:

      This 27th day of November, 2020.

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